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                                                                                         JUL 2 5 2019




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  UNITED STATES OF AMERICA

  vs.

  BENJAMIN FORREST McCONLEY,
  JASON VAN EMAN, and
  BENJAMIN RAFAEL,

       Defendants.
  ____________________________.!

                                           INDICTMENT

         The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

         At all times relevant to this Indictment:

                                   Relevant Entities and Persons

         1.      Weathervane Productions, Inc. ("Weathervane Productions") was a Nevada

  corporation formed in 2006 with its principal place of business in Bartlesville, Oklahoma.

         2.      FCP Holding Co., LLC ("FCP Holding") was a Florida limited liability company

  formed in 2011 with its principal place of business in Fort Lauderdale, Florida.

         3.      Forrest Capital Partners, LLC was a Florida limited liability company formed in

  2011 with its principal place of business in Fort Lauderdale, Florida.
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                                                                                                      r
        4.      Forrest Capital Partners, LLC changed its name to Forrest Capital Partners, Inc.

 ("Forrest Capital Partners") in March 2012. Forrest Capital Partners was a Florida corporation

 with its principal place of business in Fort Lauderdale, Florida.

        5.      Forrest Capital and Co., LLC ("Forrest Capital and Co.") was a Florida limited

 liability company formed in 2013 with its principal place of business in Fort Lauderdale, Florida.

        6.      Capital B, LLC ("Capital B") was a Florida limited liability company formed in

 2015 with its principal place of business in Miami, Florida.

        7.      WVP Holding, LLC ("WVP Holding") was an Oklahoma limited liability company

 formed in 2015 with its principal place ofbusiness in Bartlesville, Oklahoma.

        8.      The JV Group, LLC ("JV Group") was an Oklahoma limited liability company
                                                                                                      I
 formed in 2015 with its principal place of business in Bartlesville, Oklahoma.

        9.      Defendant BENJAMIN FORREST McCONLEY resided in South Florida, and
                                                                                                      I
 elsewhere, and was the manager and director ofFCP Holding, Forrest Capital Partners, and Forrest

 Capital and Co.

        10.     Defendant JASON VAN EMAN resided in Oklahoma and was the President of

 Weathervane Productions. VAN EMAN incorporated WVP Holding and JV Group in Oklahoma.

        11.     Defendant BENJAMIN RAFAEL resided in South Florida and was employed at

 Wells Fargo Bank until on or about June 18, 2015. RAFAEL was the manager and registered

 agent of Capital B.

        12.     BENJAMIN FORREST McCONLEY established personal and corporate




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 accounts in the names of PCP Holding, Forrest Capital Partners, and Forrest Capital and Co. at




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  various banks in Florida, California, and elsewhere, including Wells Fargo Bank, JP Morgan Chase

  Bank, Regions Bank, UBS Bank, and Citibank.

         13.     .JASON VAN EMAN established personal and corporate accounts in the names of

  Weathervane Productions, WVP Holding, and JV Group at various banks in Oklahoma and

  elsewhere, including Wells Fargo Bank, Arvest Bank, and Bank of Oklahoma.

         14.     BENJAMIN RAFAEL and BENJAMIN FORREST McCONLEY established

  and maintained a corporate account in the name of Capital B at Regions Bank in Florida.

         15.     Wells Fargo Bank was a financial institution with a place of business located in

  Miami-Dade County, Florida, the accounts of which were insured by the Federal Deposit Insurance

  Corporation, an agency of the United States established to protect depositors by insuring deposits

  in member banks.

         16.    JP Morgan Chase Bank was a financial institution with a place of business located

  in Miami-Dade County, Florida, the accounts of which were insured by the Federal Deposit

 Insurance Corporation, an agency of the United States established to protect depositors by insuring

 deposits in member banks.

         17.     Regions Bank was a financial institution with a place of business located in Miami-

 Dade County, Florida, the accounts of which were insured by the Federal Deposit Insurance

  Corporation, an agency of the United States established to protect depositors by insuring deposits

  in member banks.

         18.    UBS Bank was a financial institution with a place of business located in

  Washington, D.C., the accounts of which were insured by the Federal Deposit Insurance




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  Corporation, an agency of the United States established to protect depositors by insuring deposits

  in member banks.

           19.    Citibank was a financial institution with a place of business located in Broward

  County, Florida, the accounts of which were insured by the Federal Deposit Insurance Corporation,

  an agency of the United States established to protect depositors by insuring deposits in member

  banks.

           20.    Arvest Bank was a financial institution with a place of business located in

  Bartlesville, Oklahoma, the accounts of which were insured by the Federal Deposit Insurance

  Corporation, an agency of the United States established to protect depositors by insuring deposits

  in member banks.

           21.    Bank of Oklahoma was a financial institution with a place of business located in

  Bartlesville, Oklahoma, the accounts of which were insured by the Federal Deposit Insurance

  Corporation, an agency of the United States established to protect depositors by insuring deposits

  in member banks.

                                              COUNT 1
                                  Conspiracy to Commit Wire Fraud
                                          (18 u.s.c. § 1349)

           1.     The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as if fully set forth herein.

           2.     From in or around January 2013, through in or around June 2019, in Miami-Dade

  and Broward Counties, in the Southern District of Florida, and elsewhere, the defendants,

                                BENJAMIN FORREST McCONLEY,
                                    JASON VAN EMAN, and
                                     BENJAMIN RAFAEL,


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 did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,

 conspire, confederate and agree with each other and with other persons known and unknown to

 the Grand Jury, to knowingly, and with the intent to defraud, devise, and intend to devise, a scheme

 and artifice to defraud, and to obtain money and property by means of materially false and

 fraudulent pretenses, representations, and promises, knowing that the pretenses, representations,

 and promises were false and fraudulent when made, and, for the purpose of executing such scheme

 and artifice, did knowingly transmit and cause to be transmitted, by means of wire communication

 in interstate and foreign commerce, certain writings, signs, signals, pictures and sounds, in

 violation of Title 18, United States Code, Section 1343.

                               PURPOSE OF THE CONSPIRACY

        3.      It was a purpose of the conspiracy for the defendants and their co-conspirators to

 unjustly enrich themselves by (a) persuading victims, through false and fraudulent pretenses,

 representations, and promises, to send monies to certain bank accounts controlled by the

 defendants, and (b) transferring those same monies, without the victims' knowledge or

 authorization, to other bank accounts controlled by the defendants for their own gain and benefit.

                       MANNER AND MEANS OF THE CONSPIRACY

        The manner and means by which the defendants and their co-conspirators sought to

 accomplish the object and purpose of the conspiracy included, among others, the following:
                                                                                                           I
        4.      BENJAMIN FORREST McCONLEY and JASON VAN EMAN held

 themselves out as film producers and financiers.
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         5.      BENJAMIN FORREST McCONLEY and JASON VAN EMAN falsely and

  fraudulently offered to provide financinr, to investors and producers for the production of motion

 pictures, theater performances, and other projects.

         6.     BENJAMIN FORREST McCONLEY and JASON VAN EMAN falsely and

 fraudulently promised that, in exchange for a cash "contribution" from the investors and producers,

 McCONLEY would "match" the contribution and use the combined funds to secure financing for

 the motion picture, theater performance, or other project.

         7.     BENJAMIN FORREST McCONLEY and JASON VAN EMAN also entered

 into false and fraudulent short-term loan agreements with third-party lenders who were willing to

 provide low-interest "bridge" loans to McCONLEY and VAN EMAN on behalf of investors and

 producers.

         8.     In order to lure investors, producers, and lenders, BENJAMIN FORREST

 McCONLEY and JASON VAN EMAN executed false and fraudulent "funding agreements" or

 "financing agreements" (hereinafter, "funding agreements"), which guaranteed that the victims'

 cash contributions or loans would be matched dollar-for-dollar by McCONLEY. McCONLEY

 and VAN EMAN further assured the victims that their monies would be held in a secure bank

 account and would not be transferred without the victims' consent.

         9.     The false and fraudulent funding agreements required BENJAMIN FORREST

 McCONLEY to deposit funds into the secure bank account shortly after the victims provided their

 contribution or loan. To that end, JASON VAN EMAN instructed victims to transfer money to

 bank accounts at Wells Fargo Bank, JP Morgan Chase Bank, and UBS Bank, which accounts were

  actually controlled by McCONLEY and his co-conspirators.


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         10.    According    to    the   funding   agreements,   after   BENJAMIN        FORREST

 McCONLEY deposited his "matching" portion of the money, McCONLEY and JASON VAN

 EMAN would apply for a line of credit from the bank using the monies held in the secure bank

 account as collateral.

         11.    BENJAMIN FORREST McCONLEY and JASON VAN EMAN typically

 promised to obtain the line of credit within 30 to 120 days of the victims' contribution or loan. In

 some instances, the funding agreements required the return of the victims' funds, plus interest,

 once the line of credit was authorized by the bank. In other instances, the line of credit was to be

 used to finance the victims' projects, pay production costs, and cover other expenses associated

 with the project. During the course of the scheme, McCONLEY and VAN EMAN repeatedly,

 falsely, and fraudulently assured victims that lines of credit had been applied for and approved by

 the financial institution associated with the secure bank account.

        12.     At times, BENJAMIN FORREST McCONLEY and JASON VAN EMAN also

 falsely and fraudulently promised that victims' contributions or loans would be secured by a

 financial guarantee called a "performance bond." McCONLEY and VAN EMAN falsely and

 fraudulently claimed the performance bonds would be issued by a third-party insurance company

 and paid for by the defendants.

        13.     Victims relied on BENJAMIN FORREST McCONLEY and JASON VAN
                                                                                                        I
 EMAN's false and fraudulent representations and promises concerning the return of their funds
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 and the protections guaranteed by the funding agreements and performance bonds.

        14.     Based on these representations and promises, and at JASON VAN EMAN's
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 direction, victims sent tens of millions of dollars to accounts controlled by BENJAMIN


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l     FORREST McCONLEY and his co-conspirators at Wells Fargo Bank, JP Morgan Chase Bank,

JI    and UBS Bank.
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             15.     In truth, BENJAMIN FORREST McCONLEY never "matched" the victims'

I     contributions or loans as promised in the funding agreements. Neither McCONLEY nor JASON

      VAN EMAN applied for lines of credit on behalf of victims. Neither McCONLEY nor VAN

      EMAN paid for or otherwise secured performance bonds on behalf of victims.

             16.     Instead of fulfilling their promises to victims, BENJAMIN FORREST

      McCONLEY and JASON VAN EMAN stole the victims' funds by transferring them from the

      purportedly secure bank accounts to McCONLEY and VAN EMAN' s personal and corporate

      bank accounts, often within days of the victims' contributions or loans.

             17.     In order to conceal their theft of victims' monies, BENJAMIN FORREST

      McCONLEY and JASON VAN EMAN directed BENJAMIN RAFAEL, a Wells Fargo Bank

      employee, and other co-conspirators, to falsely and fraudulently deceive victims about the security

      oftheir funds. During the course of the scheme, RAFAEL and other co-conspirators repeatedly

      told victims that their contributions or loans had been "matched" and that McCONLEY and VAN

      EMAN had applied for lines of credit as promised in the funding agreements.

             18.     Up to and after his termination from Wells Fargo Bank in June 2015, BENJAMIN

      RAFAEL routinely sent false and fraudulent emails to victims from his Wells Fargo Bank and

      personal email accounts.      Following RAFAEL's termination from Wells Fargo Bank,

      BENJAMIN FORREST McCONLEY and JASON VAN EMAN lied to victims by assuring

      them that RAFAEL was still a bank employee.           When certain victims attempted to verify




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 RAFAEL's employment at the bank, or contact Wells Fargo Bank directly, McCONLEY and

 VAN EMA N warned the victims not to do so.

         19.    During the course ofthe scheme, BENJAMIN FORREST McCONLEY, JASON

 VAN EMAN, and BENJAMIN RAFAEL also created and transmitted, via interstate and foreign

 wire communications, false and fraudulent bank documents, including purported bank letters,

 account signature cards, and deposit account balance summaries. Several of these documents were

 forgeries.

         20.    When victims demanded the return of their monies, BENJAMIN FORREST

 McCONLEY and JASON VAN EMAN usually refused to return the victims' monies as promised

 in the funding agreements, often blaming "compliance" issues at the financial institution associated

 with the purportedly secure account. As a result, several victims filed civil lawsuits and other legal

 actions in Florida, California, and Texas, which lawsuits and legal actions alleged that the

 defendants and their co-conspirators had stolen the victims' monies.

         21.    During the pendency of the lawsuits and legal actions, BENJAMIN FORREST

 McCONLEY and JASON VAN EMAN continued to lure victims with false and fraudulent

 promises and documents. In order to resolve the various lawsuits and legal actions filed by earlier

 victims, and to pay attorneys' fees, McCONLEY and VAN EMAN directed later victims' funds

 to the earlier victims and attorneys; all without the later victims' knowledge or authorization.

         22.    In order to conceal from the public news of the lawsuits and legal actions,

 BENJAMIN FORREST McCONLEY and JASON VAN EMAN engaged an "online reputation

 management" firm to "suppress" or hide negative information about McCONLEY and VAN

 EMAN.


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          23.      In addition, in response to demands from earlier victims, BENJAMIN FORREST

  McCONLEY and JASON VAN EMAN sometimes used later victims' funds to make partial

  repaymc:nts of monies they stole from earlier victims; all without the later victims' knmvledge or

  authorization.

         24.       Throughout the course of the scheme, BENJAMIN FORREST McCONLEY,

  JASON VAN EMAN, and BENJAMIN RAFAEL used victim monies to purchase luxury

  automobiles, personal watercraft, real estate, jewelry, home furnishings, designer clothes, hotel

  accommodations, and private and commercial air travel.

         All in violation ofTitle 18, United States Code, Section 1349.

                                             COUNTS 2-25
                                              Wire Fraud
                                           (18 u.s.c. § 1343)

          1.       The allegations set forth in the General Allegations section of this Indictment are

  re-alleged and incorporated by reference as if fully set forth herein.

         2.        From in or around January 2013, through in or around June 2019, in Miami-Dade

  and Broward Counties, in the Southern District of Florida, and elsewhere, the defendants,

                                BENJAMIN FORREST McCONLEY,
                                    JASON VAN EMAN, and
                                     BENJAMIN RAFAEL,

  did knowingly, and with the intent to defraud, devise, and intend to devise a scheme and artifice

  to defraud and to obtain money or property by means of materially false and fraudulent pretenses,

  representations, and promises, knowing that the pretenses, representations, and promises were

  false and fraudulent when made, and, for the purpose of executing such scheme and artifice, did

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 knowingly transmit and cause to be transmitted, by means of wire communication in interstate and

 foreign commerce, certain writings, signs, signals, pictures, and sounds.

                        PURPOSE OF THE SCHEME AND ARTIFICE

        3.      It was a purpose of the scheme and artifice for the defendants and their co-schemers

 to unjustly emich themselves by (a) persuading victims, through false and fraudulent pretenses,

 representations, and promises, to send monies to certain bank accounts controlled by the

 defendants, and (b) transferring those same monies, without the victims' knowledge or

 authorization, to other bank accounts controlled by the defendants for their own gain and benefit.

                                 THE SCHEME AND ARTIFICE

        4.      The Manner and Means section of Count 1 of this Indictment is re-alleged and

 incorporated by reference as if fully set forth herein as the description of the scheme and artifice.

                                          USE OF WIRES

        5.      On or about the dates specified as to each count below, in the Southern District of

 Florida, and elsewhere, the defendants, for the purpose of executing, and in furtherance of, the

 aforesaid scheme and artifice to defraud and to obtain money and property by means of materially

 false and fraudulent pretenses, representations, and promises, did knowingly transmit and cause to

 be transmitted by means of wire communication in interstate and foreign commerce, certain

 writings, signs, signals, pictures, and sounds, as more specifically described below:




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  COUNT DEFENDANT{S)         APPROX. DATE              DESCRIPTION OF WIRE
                                                         COMMUNICATION
     2       BENJAMIN        September 4, 2014   Email from JASON VAN EMAN to
             FORREST                             BENJAMIN FORREST McCONLEY,
           McCONLEY and                          "P.Z.," in South Florida, and others, in
            JASON VAN                            which VAN EMAN provided wire
               EMAN                              instructions directing payment of
                                                 $270,000 to McCONLEY's Forrest
                                                 Capital and Co. Wells Fargo Bank
                                                 account ending in 5631
     3       BENJAMIN        October 10, 2014    Email from BENJAMIN FORREST
              FORREST                            McCONLEY, in South Florida, to "P.F.,"
             McCONLEY                            in which McCONLEY stated "We are
                                                 working through the issues and awaiting
                                                 the approval of the funds to go to you"
     4      BENJAMIN         October 13, 2014    Email from JASON VAN EMAN to
             FORREST                             BENJAMIN FORREST McCONLEY,
           McCONLEY and                          in South Florida, forwarding an email
            JASON VAN                            from "A.B.," in which A.B. stated "[a]
              EMAN                               lawsuit is prepared and will be filed today
                                                 by close of business"
     5      BENJAMIN         February 1, 2015    Email from JASON VAN EMAN to
             FORREST                             "N.B.," "C.A.," BENJAMIN FORREST
           McCONLEY and                          McCONLEY, m South Florida, and
            JASON VAN                            others, attached to which was a false and
              EMAN                               fraudulent       "Performance        Bond
                                                 Agreement" bearing the name of a
                                                 fictional    company     called     "CRC
                                                 Assurance Alliance"
     6       BENJAMIN          April I, 2015     Email from JASON VAN EMAN to
              FORREST                            "P.Z.,"      BENJAMIN         FORREST
             McCONLEY,                           McCONLEY,           and     BENJAMIN
             JASON VAN                           RAFAEL, in South Florida, in which
              EMAN,and                           VAN EMAN stated "[i]n regards to our
             BENJAMIN                            other project accounts, WVP is only
               RAFAEL                            showing one account online and it also has
                                                 a zero balance"
     7       JASON VAN         April 7, 2015     Email from JASON VAN EMAN to
              EMAN and                           "C.K." and BENJAMIN RAFAEL, in
             BENJAMIN                            South Florida, in which VAN EMAN
               RAFAEL                            stated "our funds are attached"

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  COUNT DEFENDANT(S)        APPROX. DATE             DESCRIPTION OF WIRE
                                                       COMMUNICATION
     8      BENJAMIN          April20, 2015    Email from BENJAMIN FORREST
             FORREST                           McCONLEY, m South Florida, to
           McCONLEY and                        JASON VAN EMAN, attached to which
            JASON VAN                          was a false and fraudulent attorney
              EMAN                             opmwn letter regarding a fictional
                                               company called "CRC Assurance
                                               Alliance"
     9       JASON VAN         June 2, 2015    Email from JASON VAN EMAN to
              EMANand                          BENJAMIN RAFAEL, in South Florida,
             BENJAMIN                          in which VAN EMAN directed RAFAEL
              RAFAEL                           to state "the US $1.25M has been
                                               received, Forrest Capital has matched the
                                               contribution and the funds are in the
                                               master account"
    10       BENJAMIN          June 2, 2015    Email from BENJAMIN RAFAEL in
             RAFAEL and                        South Florida, to JASON VAN EMAN
             JASON VAN                         and "T.L.," in which RAFAEL stated
               EMAN                            "the US $1.25M has been received,
                                               Forrest Capital has     matched the
                                               contribution and the funds are in the
                                               master account"
     11     BENJAMIN          June 22,2015     Email from BENJAMIN RAFAEL, in
             FORREST                           South Florida, from RAFAEL's personal
            McCONLEY,                          email account, to JASON VAN EMAN,
            JASON VAN                          "C.T.,"     BENJAMIN         FORREST
             EMAN,and                          McCONLEY, and others, in which
            BENJAMIN                           RAFAEL stated "I confirm that the
              RAFAEL                           funding has been received prior"
     12     BENJAMIN          June 22, 2015    Email from JASON VAN EMAN to
             FORREST                           BENJAMIN RAFAEL, in South Florida,
            McCONLEY,                          to RAFAEL's personal email account,
            JASON VAN                          "C.T.,"     BENJAMIN        FORREST
             EMAN, and                         McCONLEY, and others, in which VAN
            BENJAMIN                           EMAN stated "It was brought to my
              RAFAEL                           attention that the email is from your
                                               personal vs your office"




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  COUNT DEFENDANT(S)        APPROX. DATE            DESCRIPTION OF WIRE
                                                      COMMUNICATION
     13     BENJAMIN          June 22,2015    Email from JASON VAN EMAN to
             FORREST                          BENJAMIN FORREST McCONLEY,
           McCONLEY and                       in South Florida, to which VAN EMAN
            JASON VAN                         attached a purported Wells Fargo Bank
              EMAN                            letter drafted by VAN EMAN to be
                                              signed by BENJAMIN RAFAEL
     14     BENJAMIN          June 23,2015    Email from JASON VAN EMAN to
             FORREST                          "A.E.,"      BENJAMIN           FORREST
           McCONLEY and                       McCONLEY, m South Florida, and
            JASON VAN                         others, in which VAN EMAN stated
              EMAN                            "Wells      compliance     now       reqmres
                                              confirmations, etc. to be in letter form"
     15      JASON VAN        June 23, 2015   Email from BENJAMIN RAFAEL, in
              EMANand                         South Florida, from RAFAEL's personal
             BENJAMIN                         email account, to JASON VAN EMAN,
              RAFAEL                          to which RAFAEL attached a purported
                                              Wells Fargo Bank letter stating "[t]his
                                              letter IS to confirm the matched
                                              contribution from Forest Capital has been
                                              drawn down and is in the process of
                                              clearing for distribution"
     16     BENJAMIN          June 25, 2015   Email from JASON VAN EMAN to
             FORREST                          BENJAMIN FORREST McCONLEY,
           McCONLEY and                       in South Florida, in which VAN EMAN
            JASON VAN                         advised McCONLEY that "K.W." had
              EMAN                            learned that BENJAMIN RAFAEL was
                                              no longer employed at Wells Fargo Bank
     17     BENJAMIN          June 27,2015    Email from JASON VAN EMAN to
             FORREST                          "G.S.,"      BENJAMIN           FORREST
           McCONLEY and                       McCONLEY, m South Florida, and
            JASON VAN                         others, in which VAN EMAN stated
              EMAN                            "please see the attached letter from Wells
                                              Fargo confirming the current balance of
                                              the WVPH (1) account and updates on
                                              the deliver [sic] ofthe LOC"
     18     BENJAMIN          July 28, 2015   Email from JASON VAN EMAN to
             FORREST                          "K.B.," "R.M.," "P.K.," and BENJAMIN
           McCONLEY and                       FORREST McCONLEY, m South
            JASON VAN                         Florida, to which VAN EMAN attached a
              EMAN                            purported Wells Fargo Bank letter drafted
                                              by VAN EMAN and signed by
                                              BENJAMIN RAFAEL
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  COUNT DEFENDANT(S)         APPROX. DATE           DESCRIPTION OF WIRE
                                                      COMMUNICATION
     19      BENJAMIN         August 15,2015
                                           Email from JASON VAN EMAN to
             FORREST                       BENJAMIN FORREST McCONLEY,
           McCONLEY and                    in South Florida, and "R.M.," in which
            JASON VAN                      VAN EMAN referred to BENJAMIN
               EMAN                        RAFAEL as a "fake banker"
     20      BENJAMIN    October 1, 2015   Email from JASON VAN EMAN to
             FORREST                       "G.S.,"     BENJAMIN         FORREST
           McCONLEY and                    McCONLEY, m South Florida, and
            JASON VAN                      others, to which VAN EMAN attached a
               EMAN                        purported Wells Fargo Bank letter signed
                                           by BENJAMIN RAFAEL stating that a
                                           nonexistent Wells Fargo Bank account
                                           "has a current balance of$30,021,391"
    21      BENJAMIN      June 29,2016     Email from BENJAMIN FORREST
             FORREST                       McCONLEY, m South Florida, to
           McCONLEY and                    JASON VAN EMAN, "L.S.," and others,
            JASON VAN                      in which McCONLEY stated "expect
              EMAN                         confirmation and acknowledgment emails
                                           for our new project over the next few
                                           hours"
    22      BENJAMIN      July 15,2016     Email from BENJAMIN FORREST
             FORREST                       McCONLEY,        m South Florida, to
           McCONLEY and                    JASON VAN EMAN, m which
            JASON VAN                      McCONLEY forwarded a purported
              EMAN                         UBS Bank email containing an image of a
                                           false and fraudulent w1re transfer
                                           confirmation
    23      BENJAMIN    November  21, 2017 Email from JASON VAN EMAN to
             FORREST                       "B.T.," in South Florida, and others,
           McCONLEY and                    forwarding an email from BENJAMIN
            JASON VAN                      FORREST McCONLEY, attached to
              EMAN                         which was a false a,nd fraudulent JP
                                           Morgan Chase Bank Deposit Account
                                           Balance Summary
    24      BENJAMIN    December 8, 2017 Email from JASON VAN EMAN to
             FORREST                       "B.T.,"     m    South    Florida,   and
           McCONLEY and                    BENJAMIN FORREST McCONLEY,
            JASON VAN                      attached to which were purported
              EMAN                         "signature cards" for a JP Morgan Chase
                                           Bank account


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  COUNT DEFENDANT(S)                 APPROX. DATE                 DESCRIPTION OF WIRE
                                                                    COMMUNICATION
     25        BENJAMIN                 April 9, 2019       Email from BENJAMIN FORREST
                FORREST                                     McCONLEY to JASON VAN EMAN,
              McCONLEY and                                  "JOMO," and "RoWo," in South Florida, in
               JASON VAN                                    which McCONLEY stated "[w]e are in
                 EMAN                                       the middle of working through the
                                                            specifics and are close to being able to 000
                                                            finalizing [sic] our agreement"

          In violation of Title 18, United States Code, Sections 1343 and 20

                                            COUNT26
                             Conspiracy to Commit Money Laundering
                                       (18 u.s.c. § 1956(h))

          From in or around January 2013, through in or around June 2019, in Miami-Dade and

 Broward Counties, in the Southern District of Florida, and elsewhere, the defendants,

                               BENJAMIN FORREST McCONLEY,
                                   JASON VAN EMAN, and
                                    BENJAMIN RAFAEL,

 did willfully, that is, with the intent to further the object of the conspiracy, and knowingly combine,

 conspire, confederate, and agree with each other and with others known and unknown to the Grand

 Jury, to knowingly engage in a monetary transaction affecting interstate and foreign commerce,

 by, through, and to a financial institution, in criminally derived property of a value greater than

 $10,000, such property having been derived from a specified unlawful activity, and knowing that

 the property involved in the financial transaction represented the proceeds of some form of

 unlawful activity, in violation of Title 18, United States Code, Section 19570

          It is further alleged that the specified unlawful activity is wire fraud, in violation of Title

  18, United States Code, Section 13430

          All in violation of Title 18, United States Code, Section 1956(h)o

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                                         COUNTS 27-40
                                        Money Laundering
                                        (18 u.s.c. § 1957)

         On or about the dates specified below as to each count, in Miami-Dade and Broward

 Counties, in the Southern District of Florida, and elsewhere, the defendants,

                             BENJAMIN FORREST McCONLEY,
                                 JASON VAN EMAN, and
                                  BENJAMIN RAFAEL,

 did knowingly engage in and attempt to engage in monetary transactions affecting interstate and

 foreign commerce, by, through, and to a financial institution, in criminally derived property of a

 value greater than $10,000, such property having been derived from a specified unlawful activity,

 and knowing that the property involved in the financial transactions represented the proceeds of

 some form of unlawful activity, as more particularly described in each count below:

  COUNT     DEFENDANT(S)          APPRO X.            APPROX.      DESCRIPTION OF FINANCIAL
                                  DATE OF             AMOUNT            TRANSACTION
                                TRANSACTION

    27        BENJAMIN            May 5, 2015         $100,000     Wire transfer from BENJAMIN
               FORREST                                             FORREST          McCONLEY's
              McCONLEY                                             Wells Fargo Bank account
                                                                   ending in 4639 to American
                                                                   Express
    28        BENJAMIN
               FORREST
                                  May 19,2015         $300,000     Wire transfer from BENJAMIN
                                                                   FORREST          McCONLEY's
                                                                                                      l
              McCONLEY
              and JASON
              VANEMAN
                                                                   Forrest Capital Partners Wells
                                                                   Fargo Bank account ending in
                                                                   5059 to JASON VAN EMAN's
                                                                                                      I
                                                                   JV Group Arvest Bank account
                                                                   ending in 3257                     I
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  COUNT    DEFENDANT(S)      APPRO X.            APPRO X.     DESCRIPTION OF FINANCIAL
                             DATE OF             AMOUNT            TRANSACTION
                           TRANSACTION
    29      BENJAMIN        May 21,2015          $1,000,000   Wire transfer from BENJAMIN
             FORREST                                          FORRES'f         McCONLEY's
            McCONLEY                                          Forrest Capital Partners Wells
            and JASON                                         Fargo Bank account ending in
            VANEMAN                                           5059 to JASON VAN EMAN's
                                                              JV Group Arvest Bank account
                                                              ending in 3257
    30      BENJAMIN        May 28,2015          $2,250,000   Wire transfer from BENJAMIN
             FORREST                                          FORREST          McCONLEY's
            McCONLEY                                          Forrest Capital Partners Wells
            and JASON                                         Fargo Bank account ending in
            VANEMAN                                           5059 to JASON VAN EMAN's
                                                              JV Group Arvest Bank account
                                                              ending in 3257
    31      BENJAMIN        June 5, 2015         $100,000     Wire transfer from BENJAMIN
            FORREST                                           FORREST          McCONLEY's
            McCONLEY                                          Wells Fargo Bank account
                                                              ending Ill 4639 to American
                                                              Express
    32      BENJAMIN        June 12,2015         $1,000,000   Wire transfer from BENJAMIN
             FORREST                                          FORREST          McCONLEY's
            McCONLEY                                          Forrest Capital Partners Wells
                                                              Fargo Bank account ending in
                                                              5059 to Euro Motorsport
    33      BENJAMIN        June 16, 2015        $250,000     Wire transfer from BENJAMIN
             FORREST                                          FORREST          McCONLEY's
            McCONLEY                                          Forrest Capital Partners Wells
                and                                           Fargo Bank account ending in
            BENJAMIN                                          5059       to      BENJAMIN
              RAFAEL                                          FORREST McCONLEY and
                                                              BENJAMIN            RAFAEL's
                                                              Capital B, LLC Regions Bank
                                                              account ending in 7517

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  COUNT    DEFENDANT(S)      APPROX.             APPROX.      DESCRIPTION OF FINANCIAL
                             DATE OF             AMOUNT            TRANSACTION
                           TRANSACTION

     34     BENJAMIN        June 23, 2015        $320,000     Wire transfer from BENJAMIN
            FORREST                                           FORREST          McCONLEY's
            McCONLEY                                          Forrest Capital Partners Wells
            and JASON                                         Fargo Bank account ending in
            VANEMAN                                           5059 to JASON VAN EMAN's
                                                              JV Group Arvest Bank account
                                                              ending in 3257
    35      BENJAMIN        July 16,2015         $1,500,000   Wire transfer from BENJAMIN
             FORREST                                          FORREST          McCONLEY's
            McCONLEY                                          Forrest Capital Partners Wells
            and JASON                                         Fargo Bank account ending in
            VANEMAN                                           5059 to JASON VAN EMAN's
                                                              JV Group Arvest Bank account
                                                              ending in 3257
    36      BENJAMIN        July 22, 2015        $220,000     Wire transfer from BENJAMIN
             FORREST                                          FORREST McCONLEY and
            McCONLEY                                          BENJAMIN            RAFAEL's
                and                                           Capital B, LLC Regions Bank
            BENJAMIN                                          account ending m 751 7 to
              RAFAEL                                          BENJAMIN             FORREST
                                                              McCONLEY's Forrest Capital
                                                              Partners Wells Fargo Bank
                                                              account ending in 5059
    37      BENJAMIN       August 19,2015         $16,000     Wire transfer from BENJAMIN
            FORREST                                           FORREST          McCONLEY's
            McCONLEY                                          Forrest Capital Partners Regions
                                                              Bank account ending in 7258 to
                                                              Schnack's Jewelery
    38      BENJAMIN       August 21,2015         $21,000     Wire transfer from BENJAMIN
            FORREST                                           FORREST          McCONLEY's
            McCONLEY                                          Forrest Capital Partners Regions
                                                              Bank account ending in 7258 to
                                                              Schnack's Jewelery




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  COUNT        DEFENDANT(S)          APPRO X.            APPRO X.     DESCRIPTION OF FINANCIAL
                                     DATE OF             AMOUNT            TRANSACTION
                                   TRANSACTION

     39        BENJAMIN            September 2, 20 15     $80,000     Wire transfer from BENJAMIN
                FORREST                                               FORREST McCONLEY AND
               McCONLEY,                                              BENJAMIN            RAFAEL's
               JASON VAN                                              Capital B, LLC Regions Bank
                EMANand                                               account ending m 7517 to
               BENJAMIN                                               JASON VAN EMAN's JV
                RAFAEL                                                Group Arvest Bank account
                                                                      ending in 3257
     40        BENJAMIN             June 21,2016         $2,132,897   Wire transfer from BENJAMIN
                FORREST                                               FORREST          McCONLEY's
               McCONLEY                                               Forrest Capital and Co. UBS
                                                                      Bank account ending in 1218 to
                                                                      McCONLEY's FCP Master
                                                                      Holding Account LLC JP
                                                                      Morgan Chase Bank account
                                                                      ending in 9729

          It is further alleged that the specified unlawful activity is wire fraud, in violation of Title

  18, United States Code, Section 1343.

          In violation of Title 18, United States Code, Sections 1957 and 2.

                                           FORFEITURE
                              (18 U.S.C. §§ 981(a)(l)(C) and 982(a)(l))

          1.     The allegations of this Indictment are re-alleged and by this reference are fully

  incorporated herein for the purpose of alleging forfeiture to the United States of certain property

  in which the defendants, BENJAMIN FORREST McCONLEY, JASON VAN EMAN, and

  BENJAMIN RAFAEL, have an interest.

          2.      Upon conviction of a violation of Title 18, United States Code, Sections 1343 and

  1349, as alleged in this Indictment, the defendants shall each forfeit to the United States, pursuant




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  to Title 18, United States Code, Section 981(a)(l)(C), any property, real or personal, which

  constitutes or is derived from proceeds traceable to such violation.

         3.        Upon conviction of a violation of Title 18, United States Code, Sections 1956(h)

  and 1957, as alleged in this Indictment, the defendants shall each forfeit to the United States,

  pursuant to Title 18, United States Code, Section 982(a)(l), any property, real or personal,

  involved in the violation, or any property traceable to such property.

         4.        The property subject to forfeiture includes, but is not limited to:

         (a)       Real property located at 2907 Woodrich Drive, Tallahassee, Florida;

         (b)       Real property located at 1420 Apple Alley Street, Bartlesville, Oklahoma;

         (c)     Real property located at 111 SE Fleetwood Place, Bartlesville, Oklahoma; and

         (d)     Real property located at 1444 Oakdale Drive, Bartlesville, Oklahoma.

         5.        If any of the property described above, as a result of any act or omission of any of

 the defendants,

         (a)       cannot be located upon the exercise of due diligence;

         (b)     has been transferred or sold to, or deposited with, a third person;

         (c)       has been placed beyond the jurisdiction of the Court;

         (d)       has been substantially diminished in value; or

         (e)       has been commingled with other property which cannot be divided without
                   difficulty,

  the United States intends to seek forfeiture of any other property of the defendants up to the value

  ofthe above forfeitable property pursuant to Title 21, United States Code, Section 853(p).



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         All pursuant to Title 18, United States Code, Section 981(a)(l)(C) and 982(a)(l), and the

  procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title 18,

  Unitd States Code, Section 987-(b)(l) and Title 28, United States Code, Section 2461(c).

                                                     A TRUE BILL




                                                     FOREPERSON

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 CHRISTOPHER B. BROWNE
 ASSISTANT UNITED STATES ATTORNEY




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                                                    SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                       CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  v.
BENJAMIN FORREST McCONLEY, ET AL.,                             CERTIFICATE OF TRIAL ATTORNEY*

                                                               Superseding Case Information:
                                    Defendants.

Court Division: (Select One)                                   Newdefendant(s)            Yes     No
 .t    Miami                 Key West                          Number of new defendants
       FTL                   WPB                  FTP          Total number of counts

          1.      I have carefully considered the allegations of the indictment, the number of defendants, the number of
                  probable witnesses and the legal complexities of the Indictment/Information attached hereto.
         2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
         3.      futerpreter:    (YesorNo)                No
                 List language and/or dialect
         4.       This case will take __1Q_ days for the parties to try.
         5.      Please check appropriate category and type of offense listed below:

                 (Check only one)                                     (Check only one)


         I       0 to 5 days                                          Petty
         II      6 to IO days                                         Minor
         III     II to 20 days                                        Misdem.
         IV      2I to 60 days                                        Felony
         v       6I days and over
         6.       Has this case previously been filed in this District Court?
          If yes: Judge
          (Attach copy of dispositive order)
          Has a complaint been filed in this matter?
                                                            Case No.
                                                                                  (Yes or No) No

                                                                       ----------------------------
                                                             (Yes or No)      No
                                                                                                                            I
          If yes: Magistrate Case No.
          Related miscellaneous numbers:
          Defendant(s) in federal custody as of
          Defendant(s) in state custody as of
          Rule 20 from the District of
           Is this a potential death penalty case? (Yes or No)

          7.      Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                  prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No -t

          8.      Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                  prior to August 8, 2014 (Mag. Judge Shanie~s                                  ~




                                                                       CHRISTOPHER B. BROWNE
                                                                       ASSISTANT UNITED STATES ATTORNEY
                                                                       FL Bar No. 91337
                                                                                                                            I
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 *Penalty Sheet(s) attached                                                                                 REV 8113/2018
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

 Defendant's Name: BENJAMIN FORREST McCONLEY

 Case No: ---------------------------------------------------------------

 Count#: 1

 Conspiracy to Commit Wire Fraud

 Title 18, United States Code, Section 1349

 * Max. Penalty:       Twenty (20) years' imprisonment

 Counts#: 2-6, 8, 11-14, 16-25

 Wire Fraud

 Title 18 United States Code Section 1343

 * Max. Penalty:       Twenty (20) years' imprisonment as to each count

 Count#:26

 Conspiracy to Commit Money Laundering Offenses

 Title 18, United States Code, Section 1956(h)

 *Max. Penalty:        Ten (10) years' imprisonment

 Counts#: 27-40

 Money Laundering

 Title 18 United States Code Section 1957

 * Max. Penalty:       Ten (10) years' imprisonment as to each count




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

 Defendant's Name: JASON VAN EMAN

 CaseNo: --------------------------------------------------------------
 Count#: 1

 Conspiracy to Commit Wire Fraud

 Title 18, United States Code, Section 1349

 * Max. Penalty:       Twenty (20) years' imprisonment

 Counts#: 2, 4-25

 Wire Fraud

 Title 18 United States Code Section 1343

 *Max. Penalty:        Twenty (20) years' imprisonment as to each count

 Count#:26

 Conspiracy to Commit Money Laundering Offenses

 Title 18, United States Code, Section 1956(h)

 *Max. Penalty:        Ten (10) years' imprisonment

 Counts#: 28, 29, 30, 34, 35, 39

 Money Laundering

 Title 18 United States Code Section 1957

 * Max. Penalty:       Ten (10) years' imprisonment as to each count




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
          special assessments, parole terms, or forfeitures that may be applicable.
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

 Defendant's Name: BENJAMIN RAFAEL

 CaseNo: --------------------------------------------------------------
 Count#: 1

 Conspiracy to Commit Wire Fraud

 Title 18 United States Code Section 1349

 * Max. Penalty:       Twenty (20) years' imprisonment

 Counts#: 6, 7, 9, 10, 11, 12,15

 Wire Fraud

 Title 18 United States Code Section 1343

 *Max. Penalty:        Twenty (20) years' imprisonment as to each count

 Count#:26

 Conspiracy to Commit Money Laundering Offenses

 Title 18, United States Code, Section 1956(h)

 *Max. Penalty:        Ten (10) years' imprisonment

 Counts#: 33, 36, 39

 Money Laundering

 Title 18 United States Code Section 1957

 *Max. Penalty:        Ten (10) years' imprisonment as to each count




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
          special assessments, parole terms, or forfeitures that may be applicable.
